            CASE 0:21-cr-00108-PAM-TNL Doc. 52 Filed 06/01/21 Page 1 of 5




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                            Criminal No. 21-108 (PAM/TNL)

 UNITED STATES OF AMERICA,

                       Plaintiff,
                                                 GOVERNMENT’S UNOPPOSED
        v.                                       MOTION TO DESIGNATE CASE AS
                                                 COMPLEX UNDER THE SPEEDY
 DEREK MICHAEL CHAUVIN (1),                      TRIAL ACT

                       Defendant.

       The United States of America, by and through its attorneys, W. Anders Folk, Acting

United States Attorney for the District of Minnesota, and Samantha Trepel, Special

Litigation Counsel for the Civil Rights Division, respectfully moves the Court for an

order designating the above-captioned matter as a complex case for purposes of the Speedy

Trial Act, pursuant to 18 U.S.C. §§ 3161(h)(7)(B)(ii) and (iv). The grounds for this motion

are as follows.

       1.       The grand jury returned an indictment on the above-referenced matter on

May 6, 2021. The indictment charges four defendants in three counts with Deprivation of

Rights Under Color of Law, in violation of 18 U.S.C. § 242, resulting in the death of

George Floyd.

       2.       While the underlying facts of the crime alleged in the indictment are

relatively limited in scope, the nature of the prosecution presents challenges that make the

case, and the discovery process, complex. The prosecution of a Deprivation of Rights

Under Color of Law case involves the disclosure of information that goes well beyond the

circumstances on the date of the offense, and here includes voluminous video and audio
            CASE 0:21-cr-00108-PAM-TNL Doc. 52 Filed 06/01/21 Page 2 of 5




recordings, policy and training materials, medical and autopsy records, personnel records,

use of expert testimony, and records of prior incidents involving one or more defendants.

In addition, federal and state agencies have conducted independent but coordinated

investigations while multiple state prosecutions based on the same conduct of the

defendants proceed in state court. See State of Minnesota v. Derek Chauvin, No. 27-CR-

20-12646; State of Minnesota v. Tou Thao, No. 27-CR-20-12949; State of Minnesota v.

Thomas Kiernan Lane, No. 27-CR-20-12951; State of Minnesota v. J. Alexander Kueng,

No. 27-CR-20-12953. The state prosecution of Defendant Chauvin has already resulted in

one weeks-long trial involving the testimony of more than 30 witnesses, many of whom

are also potential witnesses in the instant case. Meanwhile, Defendants Thao, Lane, and

Kueng are presently set for trial in their respective matters in March 2022. The United

States anticipates additional relevant discovery materials may be generated during those

remaining state prosecutions, requiring further discovery and disclosures.

       3.       Discovery in this case will be extensive and will include numerous expert

witnesses. The United States received responses to more than forty grand jury subpoenas

for records; many of the responses were voluminous, constituting thousands of documents

and items of media. The United States currently has hundreds of gigabytes of media data

and document discovery (totaling tens of thousands of pages and media items) to be

disclosed to the defense. Because of the volume of data in this case, discovery is being

processed out of state. Consequently, production processing times are lengthier than cases

typically handled in the U.S. Attorney’s Office for the District of Minnesota. Additionally,

the case will likely involve testimony by multiple expert witnesses for the government and

                                             2
            CASE 0:21-cr-00108-PAM-TNL Doc. 52 Filed 06/01/21 Page 3 of 5




defense at trial. These experts will produce expert reports which may be the subject of

pretrial litigation.

       4.       The processing and disclosure of records in this case is also made complex

by the Government’s intent to provide the discovery to the defense in an organized manner.

The Government understands that much of the discovery it will provide to defense counsel

has already been provided to defense counsel in the course of the state prosecutions. To

assist with the efficient review of such discovery, the United States is willing to create a

spreadsheet of all records and items of discovery that will assist the review of discovery

and facilitate the ability of the parties to: (a) cross reference records disclosed in the federal

case with those records disclosed in the state case; and (b) identify records from the federal

investigation that may not have been part of the investigation or discovery in the state case.

       5.       The Speedy Trial Act requires that trial begin within 70 days after a

defendant is charged or makes an initial appearance unless the running of the time is

stopped for reasons set out in the statute. See 18 U.S.C. § 3161; United States v. Lucas,

499 F.3d 769, 782 (8th Cir. 2007). Periods of delay caused by pretrial motions are excluded

from the calculation of this 70-day time frame, as are continuances granted by the court in

order to best serve “the ends of justice.” United States v. Shepard, 462 F.3d 847, 863 (8th

Cir. 2006). Local Rule 12.1 sets forth time periods for discovery disclosures, filing of

pretrial motions, and motions hearings. Under the local rules, to the extent practicable, the

Government shall produce discovery within 7 days of arraignment, defendants shall

produce reciprocal discovery within 14 days of arraignment, and the parties shall file

pretrial motions within 21 days of arraignment. L.R. 12.1(a)-(c).

                                                3
            CASE 0:21-cr-00108-PAM-TNL Doc. 52 Filed 06/01/21 Page 4 of 5




       6.       Under Section 3161(h)(7)(B)(ii), the court may continue proceedings beyond

the time limits established by the Speedy Trial Act if the court finds “the case is so unusual

or so complex, due to the number of defendants, the nature of the prosecution, or the

existence of novel questions of fact or law, that it is unreasonable to expect adequate

preparation for pretrial proceedings or for the trial itself.” Even if a case is not so unusual

or complex as to fall within clause (ii), Section 3161(h)(7)(B)(iv) permits a continuance

where the failure to do so “would deny the defendant reasonable time to obtain counsel,

would unreasonably deny the defendant or the Government continuity of counsel, or would

deny counsel for the defendant or the attorney for the Government the reasonable time

necessary for effective preparation, taking into account the exercise of due diligence.”

       7.       Given the complexity of this case, the nature of the investigation and

prosecution, including but not limited to the complicated factual and legal issues involved,

expected expert testimony, and the volume of discovery the Government will produce, an

enlargement of these time periods serves the interests of the parties and the ends of justice.

This matter will require extensive document and evidence review and preparation, such

that it is unreasonable to expect adequate preparation under the standard scheduling order,

and for the trial, within the time limits of the Speedy Trial Act or the time limits as typically

set by this Court. Therefore, an exclusion of time under 18 U.S.C. § 3161(h)(7)(B)(ii) and

(iv) is warranted. The Government expects that it will produce discovery as described

supra following the issuance of a protective order in this case.

       8.       The Government has conferred with defense counsel for Defendant Chauvin.

Counsel for Defendant Chauvin agrees with the bases cited for designating the instant case

                                               4
          CASE 0:21-cr-00108-PAM-TNL Doc. 52 Filed 06/01/21 Page 5 of 5




as complex in the Government’s Unopposed Motion to Designate the Case as Complex

Under the Speedy Trial Act and does not oppose the motion. The Government previously

filed a corresponding motion with respect to defendants Thao, Kueng, and Lane (see ECF

No. 44), noting that the Government similarly conferred with defense counsel and received

no objections or opposition to the bases for the designation as complex or the motion

continuing deadlines.

         For the foregoing reasons, the United States moves the Court for an order finding

that this case is unusual and complex such that it is unreasonable to expect adequate

preparation for trial within the narrow time limits ordinarily set by the Speedy Trial Statute

and that failure to grant a continuance would deny counsel for the defendant or the attorney

for the Government the reasonable time necessary for effective preparation, 18 U.S.C.

§§ 3161(h)(8)(B)(ii) and (iv). The United States submits that the Court’s order should find

that a continuance of all deadlines by at least 60 days on the above grounds satisfies the

ends of justice and outweighs the best interests of the public and the defendant in a speedy

trial.

Dated: June 1, 2021                               Respectfully submitted,


W. ANDERS FOLK                                    KRISTEN CLARKE
Acting United States Attorney                     Assistant Attorney General


/s/ W. Anders Folk                                /s/ Samantha Trepel
BY: W. ANDERS FOLK                                BY: Samantha Trepel
Acting United States Attorney                     Special Litigation Counsel
Attorney ID No. 0311388                           Attorney ID No. 992377 DC



                                              5
